12-12020-mg   Doc 1592-4 Filed 09/26/12 Entered 09/26/12 17:19:54   Exhibit 3 to
                   Dec of Feder-Invoice C12BS5B Pg 1 of 5




                              EXHIBIT 3
             12-12020-mgDoc 1592-4 Filed 09/26/12 Entered 09/26/12 17:19:54                                       Exhibit 3 to
                              Dec of Feder-Invoice C12BS5B Pg 2 of 5
International Business Machines Corporation
Please direct inquiries and correspondence to         Customer Number             Invoice Number   Invoice Date                 Page
IBM Corporation                                           3666342 - T4            C12BS5B          Mar 29, 2012           Page 1 of 4
ONE LINCOLN CENTRE
OAK BROOK TER IL 60181
Or Call IBM at                                                                    E-Mail Address:
877-426-6006                                                                      invoices@us.ibm.com
Services Delivered To:                                    Invoice To
GMAC MORTGAGE LLC                                         GMAC MORTGAGE LLC
1100 VIRGINIA DR                                          1100 VIRGINIA DR
FT WASHINGTON, PA 19034-3204                              FT WASHINGTON, PA 19034-3204



Customer reference:

Signed by Dan Drees 12/21/2010
Caseid#003687147 / SW Maintenance & Dev
Please remit payments to                                                 Terms
P.O. BOX 643600                                                              PAYMENT DUE UPON RECEIPT OF
PITTSBURGH, PA 15264-3600
                                                                             INVOICE - LATE PAYMENT FEE
                                                                             MAY APPLY
                                                       INVOICE FOR SERVICES




                                                                                  HOURLY     HOURS
DESCRIPTION                                                                       RATE                      TAX           AMOUNT

SERVICES DELIVERED TO:                                     ACCOUNT NUMBER:        CUSTOMER REFERENCE:
GMAC MORTGAGE LLC                                             3666342-T4
1100 VIRGINIA DR                                                                  Signed by Dan Drees 12/21/2010
FT WASHINGTON, PA 19034-3204                                                      Caseid#003687147 / SW Maintenance & Dev



CONTRACT NUMBER:                CFTC09C
WORK NUMBER:          WQ09K                     PO NUMBER: PO17013
SW MAINT & DEVELOPMENT
PROFESSIONAL FEES

   ARCHANA BADAM, .                                                               $55.00       162.0        $0.00           $8,910.00


   BERNABEI, R                                                                    $156.75      160.0        $0.00         $25,080.00


   BUCHANAN, JD                                                                   $166.25      160.0        $0.00         $26,600.00


   FEDER, BD                                                                      $213.75      164.0        $0.00         $35,055.00


   KAUR, H                                                                        $156.75      160.0        $0.00         $25,080.00


   MADHWAL, S                                                                     $156.75      160.0        $0.00         $25,080.00




Original Invoice                                   CONTINUED                                                                            0
             12-12020-mgDoc 1592-4 Filed 09/26/12 Entered 09/26/12 17:19:54                                    Exhibit 3 to
                              Dec of Feder-Invoice C12BS5B Pg 3 of 5
International Business Machines Corporation
Please direct inquiries and correspondence to     Customer Number             Invoice Number    Invoice Date                 Page
IBM Corporation                                       3666342 - T4            C12BS5B           Mar 29, 2012           Page 2 of 4
ONE LINCOLN CENTRE
OAK BROOK TER IL 60181
Or Call IBM at                                                                E-Mail Address:
877-426-6006                                                                  invoices@us.ibm.com
Services Delivered To:                                Invoice To
GMAC MORTGAGE LLC                                     GMAC MORTGAGE LLC
1100 VIRGINIA DR                                      1100 VIRGINIA DR
FT WASHINGTON, PA 19034-3204                          FT WASHINGTON, PA 19034-3204



Customer reference:

Signed by Dan Drees 12/21/2010
Caseid#003687147 / SW Maintenance & Dev
Please remit payments to                                             Terms
P.O. BOX 643600                                                          PAYMENT DUE UPON RECEIPT OF
PITTSBURGH, PA 15264-3600
                                                                         INVOICE - LATE PAYMENT FEE
                                                                         MAY APPLY
                                                    INVOICE FOR SERVICES


SERVICES DELIVERED TO:                                 ACCOUNT NUMBER:        CUSTOMER REFERENCE:
GMAC MORTGAGE LLC                                         3666342-T4
1100 VIRGINIA DR                                                              Signed by Dan Drees 12/21/2010
FT WASHINGTON, PA 19034-3204                                                  Caseid#003687147 / SW Maintenance & Dev




   MARRI, PM                                                                  $156.75      160.0         $0.00         $25,080.00


   NELAPATLA, R                                                               $156.75      160.0         $0.00         $25,080.00


   OCKEN, JR                                                                  $156.75      160.0         $0.00         $25,080.00


   PEREIRA, TP                                                                $110.00          2.0       $0.00            $220.00


   RAMESH KOTA, .                                                             $110.00      108.0         $0.00         $11,880.00


   RAVIKIRAN GINNURI, .                                                       $55.00       171.0         $0.00          $9,405.00


   SURVE, T                                                                   $156.75      160.0         $0.00         $25,080.00


   UNAWANE, PP                                                                $213.75      160.0         $0.00         $34,200.00


   VACHHANI, NP                                                               $156.75      160.0         $0.00         $25,080.00


PROFESSIONAL FEES SUBTOTAL                                                                               $0.00        $326,910.00



Original Invoice                                CONTINUED                                                                            0
             12-12020-mgDoc 1592-4 Filed 09/26/12 Entered 09/26/12 17:19:54                                   Exhibit 3 to
                              Dec of Feder-Invoice C12BS5B Pg 4 of 5
International Business Machines Corporation
Please direct inquiries and correspondence to     Customer Number             Invoice Number   Invoice Date                 Page
IBM Corporation                                       3666342 - T4            C12BS5B          Mar 29, 2012           Page 3 of 4
ONE LINCOLN CENTRE
OAK BROOK TER IL 60181
Or Call IBM at                                                                E-Mail Address:
877-426-6006                                                                  invoices@us.ibm.com
Services Delivered To:                                Invoice To
GMAC MORTGAGE LLC                                     GMAC MORTGAGE LLC
1100 VIRGINIA DR                                      1100 VIRGINIA DR
FT WASHINGTON, PA 19034-3204                          FT WASHINGTON, PA 19034-3204



Customer reference:

Signed by Dan Drees 12/21/2010
Caseid#003687147 / SW Maintenance & Dev
Please remit payments to                                             Terms
P.O. BOX 643600                                                          PAYMENT DUE UPON RECEIPT OF
PITTSBURGH, PA 15264-3600
                                                                         INVOICE - LATE PAYMENT FEE
                                                                         MAY APPLY
                                                    INVOICE FOR SERVICES


SERVICES DELIVERED TO:                                 ACCOUNT NUMBER:        CUSTOMER REFERENCE:
GMAC MORTGAGE LLC                                         3666342-T4
1100 VIRGINIA DR                                                              Signed by Dan Drees 12/21/2010
FT WASHINGTON, PA 19034-3204                                                  Caseid#003687147 / SW Maintenance & Dev




TOTALS
    TAXABLE CHARGES:              $0.00             NONTAXABLE CHARGES:         $326,910.00                          $326,910.00

LOCATION TOTAL                                                                                                       $326,910.00




Original Invoice                                CONTINUED                                                                           0
             12-12020-mgDoc 1592-4 Filed 09/26/12 Entered 09/26/12 17:19:54                                        Exhibit 3 to
                              Dec of Feder-Invoice C12BS5B Pg 5 of 5
International Business Machines Corporation
Please direct inquiries and correspondence to         Customer Number              Invoice Number   Invoice Date                 Page
IBM Corporation                                           3666342 - T4             C12BS5B          Mar 29, 2012           Page 4 of 4
ONE LINCOLN CENTRE
OAK BROOK TER IL 60181
Or Call IBM at                                                                     E-Mail Address:
877-426-6006                                                                       invoices@us.ibm.com
Services Delivered To:                                     Invoice To
GMAC MORTGAGE LLC                                          GMAC MORTGAGE LLC
1100 VIRGINIA DR                                           1100 VIRGINIA DR
FT WASHINGTON, PA 19034-3204                               FT WASHINGTON, PA 19034-3204



Customer reference:

Signed by Dan Drees 12/21/2010
Caseid#003687147 / SW Maintenance & Dev
Please remit payments to                                                  Terms
P.O. BOX 643600                                                               PAYMENT DUE UPON RECEIPT OF
PITTSBURGH, PA 15264-3600
                                                                              INVOICE - LATE PAYMENT FEE
                                                                              MAY APPLY
                                                        INVOICE FOR SERVICES




                          IF NOT PAID BY APRIL 27, 2012, PAY THE AMOUNT DUE PLUS A LATE PAYMENT
                          FEE OF $6,538.35 FOR A TOTAL OF $333,448.35. IF PAYMENT IS NOT MADE
                          WITHIN ONE MONTH OF APRIL 27, 2012, ADDITIONAL CHARGES MAY APPLY.

THIS IS ISSUED PURSUANT TO THE IBM CUSTOMER AGREEMENT OR THE EQUIVALENT AGREEMENT BETWEEN US.



Original Invoice                                  PLEASE PAY THIS AMOUNT                                                  $326,910.00


To assure proper credit please detach this portion and return with remittance.
International Business Machines Corporation
Invoice to                                                     Invoice Number                            Invoice Date   Mar 29, 2012
GMAC MORTGAGE LLC                                              C12BS5B
1100 VIRGINIA DR                                                                  Accounts Rec.
FT WASHINGTON, PA 19034-3204                                                      Department                                 Amount
                                                               Customer Number
                                                                   3666342 - T4   DLL                                     $326,910.00


Address Correction                                    Please remit payments to
     Invoice to__              Installed at__         IBM Corporation
                                                      P.O. BOX 643600
                                                      PITTSBURGH, PA 15264-3600                                Remittance Copy

                                                      For inquiries contact IBM at:
                                                      877-426-6006              WWW.IBM.COM/SUPPORT/OPERATIONS
